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  10
  11                       UNITED STATES DISTRICT COURT
  12                     CENTRAL DISTRICT OF CALIFORNIA
  13 JUSTIN KOJAK, Individually and On          Case No. 2:21-cv-02879-FMO-JPR
     Behalf of All Others Similarly Situated,
  14                                            PLAINTIFF’S RESPONSE TO
  15              Plaintiff,                    ORDER TO SHOW CAUSE
                                                (ECF NO. 11)
  16        v.
  17
     CANOO INC. f/k/a HENNESSY
  18 CAPITAL ACQUISITION CORP. IV,
  19 ULRICH KRANZ, TONY AQUILA,
     DANIEL J. HENNESSY, NICHOLAS
  20 A. PETRUSKA, BRADLEY BELL,
  21 PETER SHEA, RICHARD BURNS,
     JAMES F. O’NEILL III, JUAN
  22 CARLOS MAS, GRETCHEN W.
  23 MCCLAIN, and GREG ETHRIDGE,
  24              Defendants.
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       RESPONSE TO ORDER TO SHOW CAUSE
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   1         Plaintiff Justin Kojak hereby responds to the Court’s Order to Show Cause Re:
   2 Dismissal Re: Lack of Prosecution (ECF No. 11).
   3         By way of background, the above-captioned action alleges violations of
   4 Sections 10(b) and 20(a) of the Securities Exchange Act of 1934, as amended by the
   5 Private Securities Litigation Reform Act of 1995 (the “PSLRA”). The PSLRA
   6 provides, among other things, that any member of the putative class may move the
   7 Court to serve as lead plaintiff not later than 60 days after the requisite notice is
   8 published. 15 U.S.C. § 78u-4(a)(3)(A). The PSLRA further provides that, where
   9 multiple actions assert substantially the same claims under the Exchange Act, the
  10 court shall issue a decision on the motion(s) to consolidate before appointing a lead
  11 plaintiff. 15 U.S.C. § 78u-4(a)(3)(B)(ii).
  12         Here, the above-captioned case is the second-filed action among three
  13 substantially similar class actions pending in this District: Blake v. Canoo, Inc., et al.,
  14 Case No. 2:21-cv-02873-FMO-JPR (the “Blake Action,” filed April 2, 2021); Kojak
  15 v. Canoo, Inc., et al., Case No. 2:21-cv-02879 (filed April 2, 2021); and Tyler v.
  16 Canoo, Inc., Case No. 2:21-cv-03080 (filed April 9, 2021). Accordingly, on June 1,
  17 2021, eight motions for consolidation of related actions, appointment as lead plaintiff,
  18 and approval of lead counsel were filed in the first-filed related action, i.e., the Blake
  19 Action, and the Court has taken the matter under submission. See Blake Action, ECF
  20 No. 67.
  21         As to the above-captioned action, counsel for Plaintiff has been informed that
  22 counsel for defendants Canoo Inc., Tony Aquila, and Ulrich Kranz accepts service of
  23 the summons and complaint on behalf of all Defendants. Plaintiff respectfully submits
  24 that all further proceedings, including Defendants’ answer to the complaint, should
  25 adhere to the schedule set forth in the Blake Action, which contemplates that, after
  26 the lead plaintiff has been appointed, the parties will submit a proposed schedule for
  27 an amended complaint and Defendants’ motion(s) to dismiss. Blake Action, ECF.
  28 Nos. 21, 52.
       RESPONSE TO ORDER TO SHOW CAUSE
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   1                                     Respectfully submitted,
   2 DATED: July 1, 2021                 GLANCY PRONGAY & MURRAY LLP
   3
                                         By: /s/ Pavithra Rajesh
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       RESPONSE TO ORDER TO SHOW CAUSE
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   1               PROOF OF SERVICE BY ELECTRONIC POSTING
   2        I, the undersigned say:
   3        I am not a party to the above case and am over eighteen years old. On July 1,
   4 2021, I served true and correct copies of the foregoing document, by posting the
   5 document electronically to the ECF website of the United States District Court for the
   6 Central District of California, for receipt electronically by the parties listed on the
   7 Court’s Service List.
   8        I affirm under penalty of perjury under the laws of the United States of America
   9 that the foregoing is true and correct. Executed on July 1, 2021, at Los Angeles,
  10 California.
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  12                                               s/ Pavithra Rajesh
                                                   Pavithra Rajesh
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